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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

____________________________________
                                    )
MORGAN ROE, et al.,                 )
                                    )
               Plaintiffs,          )
                                    )            C.A. No. 1:18-CV-00171 (CRC)
               v.                   )
                                    )
District of Columbia, et al.,       )
                                    )
               Defendants.          )
____________________________________)

          DEFENDANTS DALE MANN AND JACQUELINE ANDERSON’S
        MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT

       Defendants Dale Mann (Mann) and Jacqueline Anderson (Anderson), by and through

counsel, move this Honorable Court, pursuant to Federal Rule of Civil Procedure 12(b)(6), to

dismiss Plaintiff’s Second Amended Complaint. As grounds, the Defendants state that:

       1)      Plaintiff John Doe failed to state a viable claim in accordance with Fed. R. Civ. P. 8

against Defendants Mann and Anderson;

       2)      Plaintiff John Doe’s claims against Defendants Anderson and Mann are barred by the

applicable statute of limitations;

       3)      Defendants Mann and Anderson are entitled to qualified immunity on their 42 U.S.C.

§ 1983 claims for violations of the Fifth Amendment; and

       4)      Plaintiffs fail to sufficiently plead a cause of action against Defendants Mann and

Anderson for negligent hiring, negligent supervision, negligent retention and negligence per se.
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       A Memorandum of Points and Authorities in support of this Motion, along with a

Proposed Order, is attached hereto.

                                          Respectfully submitted,

                                          KARL A. RACINE
                                          Attorney General for the District of Columbia

                                          GEORGE C. VALENTINE
                                          Deputy Attorney General
                                          Civil Litigation Division

                                          /s/ Patricia A. Oxendine
                                          PATRICIA A. OXENDINE
                                          D.C. Bar No. 428132
                                          Chief, Civil Litigation Division, Sec. 1

                                          /s/ Kerslyn D. Featherstone
                                          KERSLYN D. FEATHERSTONE
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
MORGAN ROE, et al.,                 )
                                    )
               Plaintiffs,          )
                                    )             C.A. No. 1:18-CV-00171 (CRC)
               v.                   )
                                    )
District of Columbia, et al.,       )
                                    )
               Defendants.          )
____________________________________)


MEMORANDUM OF POINTS AND AUTHORITIES SUPPORTING DEFENDANTS DALE
  MANN AND JACQUELINE ANDERSON’S MOTION TO DISMISS PLAINTIFFS’
                  SECOND AMENDED COMPLAINT

       In support of their motion to dismiss Plaintiff’s Second Amended Complaint,

Defendants Dale Mann (Mann) and Jacqueline Anderson (Anderson) submit this Memorandum

of Points and Authorities and state as follows:

                                       INTRODUCTION

       Defendants Mann and Anderson move for dismissal of all claims asserted against them

in this lawsuit, under Rule 12(b)(6) of the Federal Rules of Civil Procedure. First, Plaintiff

Doe, in his individual capacity, has failed to plead a viable claim against either Defendant.

Second, Plaintiff Doe’s constitutional and tort claims against Defendants Mann and Anderson

are barred by the applicable three-year statute of limitations. Third, Plaintiff Doe, on behalf of

Morgan Roe, has failed to plead a viable constitutional claim against Defendants Mann and

Anderson. Moreover, these Defendants are entitled to qualified immunity for Plaintiffs’

constitutional claims. Finally, Plaintiff Doe, on behalf of Morgan Roe, fails to sufficiently




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plead a viable claim for negligent retention, negligent hiring, negligent supervision, and

negligence per se against these Defendants. As a result, dismissal of Plaintiffs’ Second

Amended Complaint against Defendants Mann and Anderson is appropriate.

                                      STATEMENT OF FACTS

       Plaintiff John Doe filed this lawsuit, individually and on behalf of Morgan Roe (M.R.), a

minor, on January 26, 2018. Compl. [11]. Plaintiffs’ Second Amended Complaint, including claims

against Defendants Mann and Anderson under 42 U.S.C. § 1983 and under District of Columbia

common law, was filed on September 29, 2018. See Sec. Am. Compl. [60-1, 62].

       Plaintiffs aver that M.R. did well under Principal Gartrell, who nurtured and encouraged him

before he “left John Eaton in the summer of 2011 to take a position with the administration of the

D.C. Public Schools.” Id. at ¶ 29 (emphasis added). However, in the Spring of 2012, Ms. Rebecca

Nathan, M.R.’s homeroom teacher, contacted Plaintiff Doe to discuss incidents that occurred in

February 2012 during which M.R. kicked a chair across the room. Id. at ¶¶ 36, 38. These incidents

were discussed during an April 18, 2012 meeting between Defendant Mann, Ms. Nathan, and

Plaintiff Doe, during which Defendant Mann allegedly explained that M.R. was exhibiting some

kind of “personality disorder.” Id. at ¶ 37. On April 25, 2012, after a ballet presentation, Defendant

Anderson convened a meeting with Plaintiff Doe, explained that Defendant Wilson reported that his

behavior towards him was intimidating and asked him to explain his behavior. Id. at ¶¶ 68, 75-78.

It was at that time that Plaintiff Doe told Defendant Anderson that on April 18, 2012, while in his

presence, Defendant Wilson asked M.R. where he was going, demonstratively caressed M.R.’s face

with his hands, “expressed how special he believed M.R. was” and then told him “how he was to

conduct himself in class….” Id. at ¶¶ 44, 49-52. Plaintiff Doe also reported that Defendant Wilson

told M.R. that he had pretty eyes in front of his class. Id. at ¶ 53.




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        Plaintiffs aver that Defendant Anderson did nothing after learning of these two incidents of

sexual harassment. Id. at ¶ 79. Plaintiff Doe claims that thereafter, he repeatedly told Defendant

Mann the same information that he shared with Defendant Anderson, but Defendant Mann was

“dismissive” of his complaints. Id. at ¶ 80. Plaintiffs aver that, “[o]n information and belief, neither

Mann nor Anderson disciplined Wilson in any way based on Doe’s allegation about Wilson’s sexual

harassment of his son.” Id. at ¶ 92.

        Plaintiffs aver that the Doe family, including M.R., moved out of state to Illinois in February

2013. Id. at ¶ 119. Plaintiffs allege that on June 9, 2013, Plaintiff Doe learned about an incident in

which Defendant Wilson sexually assaulted M.R. in April, May or June 2012. Id. at ¶ 123.

According to Plaintiffs, during this third incident, Defendant Wilson allegedly fondled M.R.’s penis

from outside of his pants. Id. at ¶ 87. Plaintiffs allege that Doe called the police to report the

incident and that because he learned that Defendant Wilson planned to adopt a child, he called D.C.

Child and Family Services Agency concerning M.R.’s allegations. Id. at ¶¶ 124-125. Plaintiffs

assert that the AUSA declined to prosecute Defendant Wilson. Id. at ¶¶ 129-130. Plaintiffs claim

that Defendant Wilson quit his job at John Eaton Elementary School in or around November 2013.

Id. at ¶ 132.

        Plaintiffs aver that on June 9, 2013, after the family had moved to Illinois, he learned that

Defendant Wilson sexually assaulted M.R. in April, May, or June of 2012. Id. at ¶ 123. Plaintiffs

filed this lawsuit on January 26, 2018. Compl. [1]. They seek to hold Defendant Mann and

Anderson liable because they allegedly failed to take action, including failing to: a) report

Defendant Wilson’s conduct as required by D.C. Code § 4-1321.02; b) investigate Defendant

Wilson’s conduct; c) discipline Defendant Wilson; or d) terminate Defendant Wilson, after learning

from him that Defendant Wilson “asked M.R. where he was going, demonstratively caressed M.R.’s




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face with his hands, expressed how special he believed M.R. was and then told him how he was to

conduct himself in class, all while in Doe’s presence, and allegedly told M.R. that his eyes were

pretty in front of his classmates. Id. at ¶¶ 5-7. Plaintiffs asserted constitutional claims against

Defendant Mann and Anderson under 42 U.S.C. § 1983 for violations of the Fifth Amendment’s

Due Process Clause and Equal Protection Clause and under common law for negligent retention,

negligent hiring, negligent supervision, and negligence per se. Id. at ¶ 37. However, other than aver

that Defendant Mann and Anderson ignored or otherwise dismissed Plaintiff Doe’s reports about

Defendant Wilson’s sexual misconduct towards M.R., and that Defendant Mann suggested in

October 2012 that Doe neglected his other son, the Second Amended Complaint is devoid of any

allegations as to actions these defendants took against Plaintiff Doe. See Sec. Am. Compl. [60-1,

63]. Defendants Mann and Anderson now move this Court to dismiss with prejudice all claims

asserted against them.

                               STANDARD OF REVIEW

       A party may move for dismissal of a cause of action when a complaint fails to state a claim

upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Id.

       When ruling on a motion to dismiss, a court must “accept as true all of the factual allegations

contained in the complaint.” Erickson v. Pardus, 551 U.S. 89, 94 (2007). However, a court need

not accept as true allegations that are merely legal conclusions. See Iqbal, 556 U.S. at 678.

“Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,




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do not suffice.” Id. If a complaint does not state a plausible claim for relief, it will not survive a

motion to dismiss. Id. at 679.

                                             ARGUMENT

       A.      Plaintiff John Doe Has Not Pled A Viable Cause of Action Against These
               Defendants.

       Fed. R. Civ. P. 8 requires that “[a] pleading that states a claim for relief must contain:

       (1) a short and plain statement of the grounds for the court's jurisdiction, unless the court
       already has jurisdiction and the claim needs no new jurisdictional support;
       (2) a short and plain statement of the claim showing that the pleader is entitled to relief; and
       (3) a demand for the relief sought, which may include relief in the alternative or different
       types of relief.

Here, other than aver that Defendant Mann and Anderson ignored or otherwise dismissed Plaintiff

Doe’s reports to them about Defendant Wilson’s alleged sexual misconduct towards M.R. and that

during a meeting on October 18, 2012, about Plaintiff’s other son, Defendant “Mann suggested that

Doe’s other child was not being well taken-care of at home”…in a way as to suggest that Doe’s

other son was being neglected, the Second Amended Complaint is devoid of any allegations as to

actions taken by these defendants against Plaintiff Doe. Sec. Am. Compl. at ¶¶ 115, 116. Because

these allegations simply do not state any actionable claims against these Defendants in favor of

Plaintiff Doe, in his individual capacity, dismissal of Plaintiff Doe’s claims against these defendants

is warranted. See Fed. R. Civ. P. 8.

       B.      The Statute of Limitations Bars Plaintiff Doe’s Claims Against these Defendants.

       Unless the statute of limitations is tolled, a party seeking relief for a constitutional tort or

common law negligence claim has three years to file the action. See D.C. Code § 12-301(8)

(providing that the statute of limitations is three years for claims which are not otherwise

prescribed). Here, the lawsuit was not filed until January 26, 2018, and the Second Amended

Complaint was filed on September 29, 2018. See Compl. [1]; Sec. Am. Compl. [60-1, 62].



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Although there are no actionable claims pled in the Second Amended Complaint by Plaintiff Doe as

related to these Defendants, the last date referred to in the amended complaint concerning Plaintiff

Doe’s interaction with Defendant Mann is October 2012, while the last interaction as pled in the

amended complaint between Defendant Anderson and Doe is April 25, 2012. Id. at ¶¶ 68, 75-78.

Consequently, even if Plaintiff Doe had pled actionable claims against these Defendants, which he

has not, those claims would be barred by the applicable statute of limitations as more than three

years have elapsed between the parties’ interactions and the filing of this lawsuit. Thus, Plaintiff

Doe’s claims against these Defendants should be dismissed.

       C.      Defendants Mann and Anderson Are Entitled to Qualified Immunity.

       Plaintiffs assert claims under 42 U.S.C. § 1983 for violations of the Fifth Amendment’s Due

Process Clause and Equal Protection Clause against these Defendants. Although the First Claim for

Relief in Plaintiffs’ Second Amended Complaint asserts claims for violations of 42 U.S.C. § 1983

against all defendants, the Second Amended Complaint is completely devoid of any specific factual

allegations as to how Defendants Mann and Anderson violated M.R.’s constitutional rights under §

1983. See Sec. Am. Compl. at ¶¶ 196-216. In fact, the only mention of Defendants Mann or

Anderson under Plaintiffs’ First Claim for Relief is that DCPS violated the Equal Protection Clause

by authorizing Defendant Mann to place Defendant Wilson in classrooms with “children from

outside the John Eaton boundary area for the purpose of causing those children to disenroll and

create more seats for children of affluent families.” Id. at ¶ 210.

       42 U.S.C. § 1983 provides:

               Every person who, under color of any statute, ordinance, regulation, custom, or
               usage, of any State or Territory or the District of Columbia, subjects or cause to
               be subjected, any citizen of the United States or other person within the
               jurisdiction thereof to the deprivation of any rights, privileges, or immunities
               secured by the Constitution and laws, shall be liable to the party injured in an
               action at law, suit in equity, or other proper proceeding for redress. For purposes



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               of this section, any Act of Congress applicable exclusively to the District of
               Columbia shall be considered to be a statute of the District of Columbia.

“To state a claim under § 1983, a plaintiff must allege both that the defendant deprived him of a

right secured by the Constitution or laws of the United States and that it acted under color of state

law.” Turner v. Corr. Corp. of Am., 56 F. Supp. 3d 32, 35 (D.D.C. 2014). Because Plaintiffs fail to

make any specific allegations showing that Defendants Mann and Anderson violated M.R.’s Fifth

Amendment rights, Plaintiffs’ Fifth Amendment claims under 42 U.S.C. § 1983 should be

dismissed.

       To the extent Plaintiffs purport to seek relief against these Defendants under the theory that

they violated M.R.’s constitutional rights because they failed to take action based on the complaints

Plaintiff Doe reported to them in the Spring of 2012 after he was called out by them for his treatment

of Defendant Wilson, Plaintiffs’ claims still fail against these defendants. Government officials are

entitled to qualified immunity, unless their conduct violates “clearly established statutory or

constitutional rights of which a reasonable person would have known.” Mullenix v. Luna, 136 S. Ct.

305, 308 (2015) (citations omitted). A right is clearly established if at the time of the alleged

constitutional violation, “it would have been ‘clear to a reasonable officer that his conduct was

unlawful in the situation he confronted.’” Dukore v. District of Columbia, 799 F.3d 1137, 1144

(D.C. Cir. 2015) (quoting Saucier v. Katz, 533 U.S. 194, 202 (2001)). “Ordinarily, in order for the

law to be clearly established, there must be a Supreme Court or [ ] Circuit decision on point, or the

clearly established weight of authority from other courts must have found the law to be as the

plaintiff maintains.” Doe v. District of Columbia, 796 F.3d 96, 104 (D.C. Cir. 2015) (citations

omitted).

       Qualified immunity protects government officials from lawsuits when their conduct “is




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objectively reasonable in light of existing law.” Bame v. Dillard, 637 F.3d 380, 384 (D.C. Cir.

2011) (citations omitted). “Qualified immunity balances two important interests—the need to hold

public officials accountable when they exercise power irresponsibly and the need to shield officials

from harassment, distraction and liability when they perform their duties reasonably.” Pearson v.

Callahan, 555 U.S. 223, 231 (2009). Moreover, qualified immunity should be decided at the earliest

possible stage in litigation, so that insubstantial claims can be resolved prior to discovery. Id. at

231-32 (2009). Although a defendant bears the burden of raising the defense of qualified immunity

in response to a claim brought under 42 U.S.C. § 1983, once the defense is raised, the burden shifts

to the plaintiff to establish the defendant is not entitled to qualified immunity. See Kyle v. Bedlion,

177 F.Supp 3d 380, 389 (D.D.C. 2016). To overcome a defendant’s entitlement to qualified

immunity, a plaintiff must establish: 1) “that an official violated a constitutional right” and 2) “that

the right was clearly established at the time of the violation.” Doe, 796 F.3d at 104 (internal

quotations and citations omitted). A court may address either prong of the two-step inquiry first. Id.

       Regardless of the order in which this Court conducts its qualified immunity analysis, it will

find that Plaintiffs have failed to carry their burden of proof to overcome Defendants Mann and

Anderson’s entitlement to qualified immunity. With respect to the first prong, Plaintiffs have not

shown that these Defendants violated M.R.’s constitutional rights by not reporting or otherwise

investigating Plaintiff Doe’s reports to them. As is clear from the allegations as pled, M.R. did well

under Principal Gartrell, who nurtured and encouraged him before he “left John Eaton in the

summer of 2011 to take a position with the administration of the D.C. Public Schools.” Id. at ¶ 29.

However, after several incidents of misconduct occurred, Ms. Rebecca Nathan, M.R.’s homeroom

teacher, contacted Plaintiff Doe to discuss the incidents during which M.R. kicked a chair across the

classroom. Id. at ¶¶ 36, 38. These incidents were discussed during the April 18, 2012 meeting, and




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Defendant Mann allegedly explained that M.R. was exhibiting some kind of “personality disorder.”

Id. at ¶ 37.

        While Plaintiff Doe submits that although the incident he reported to Defendants Mann and

Anderson occurred on April 18, 2012, he chose not to disclose this incident until Defendant

Anderson confronted him on April 25, 2012, concerning his treatment of Defendant Wilson. Id. at

¶¶ 68, 75-78. And even then, what he specifically reported was that while in Plaintiff Doe’s

presence, Defendant Wilson asked M.R. where he was going, demonstratively caressed M.R.’s face

with his hands, expressed how special he believed M.R. was and then told him how he was to

conduct himself in class….” Id. at ¶¶ 44, 49-52. Plaintiff Doe also submits that he reported to these

Defendants that Defendant Wilson also told M.R., in front of his entire class, that he had “pretty

eyes.” Id. at ¶ 53. Given the history of behavior problems concerning M.R., as documented in the

Second Amended Complaint, the fact that M.R. flourished when he was nurtured and encouraged

by Principal Gartrell, these specific reports made by Plaintiff Doe to these Defendants, and the

context in which they were reported, no reasonable school official would know or have reason to

know that their failure to report these incidents as described by Plaintiff violated M.R.’s

constitutional rights. Even if these Defendants erred in their belief, they are still entitled to qualified

immunity. See Pearson, 555 U.S. at 231 (2009) (“Protection of qualified immunity applies

regardless of whether government official's error is mistake of law, mistake of fact, or mistake based

on mixed questions of law and fact.”).

        Finally, as to the second prong, there is no evidence that the alleged constitutional right to

have school officials report what they don’t believe to be sexual misconduct was clearly established.

While D.C. Code § 4-1321.02 states that a school official “who knows or has reasonable cause to

suspect that a child known to him or her in his or her professional or official capacity has been or is




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in immediate danger of being a mentally or physically abused or neglected child, as defined in § 16-

2301(9), shall immediately report or have a report made of such knowledge or suspicion to either the

Metropolitan Police Department of the District of Columbia or the Child and Family Services

Agency,” it was not clearly established that the violation of this statute was a violation of the

constitution or the constitutional rights of a minor child. Accordingly, dismissal of Plaintiffs’

constitutional claims against these Defendants is warranted as they are entitled to qualified

immunity.

        D.     Plaintiffs’ Negligent Retention, Negligent Hiring, Negligent Supervision, and
               Negligence Per Se Claims Fail as a Matter of Law.

        Plaintiffs assert Defendants Mann and Anderson are liable for negligent retention, negligent

hiring, negligent supervision, and negligence per se based on: 1) Defendants Mann and Anderson’s

alleged failure to seriously consider the allegations of sexual harassment reported by Plaintiff Doe;

2) Defendants Mann and Anderson’s alleged failure to report these allegations of sexual harassment

as required under D.C. Code § 4-1321.02, or otherwise take any action to remove, discipline or

investigate Wilson after learning of these allegations; and 3) Defendants Mann and Anderson’s

failure to protect M.R. from Defendant Wilson. See Sec. Am. Compl. at ¶¶ 5-7, 232-235. These

allegations simply are insufficient to support liability against these Defendants for these torts as

pled.

         District of Columbia case law generally considers claims of negligent hiring, supervision,

and retention together, see Blair v. District of Columbia, 190 A.3d 212, 229 (D.C. 2018), and “does

not appear to distinguish between negligent supervision and retention,” Islar v. Whole Foods Mkt.

Grp., Inc., 217 F. Supp. 3d 261, 265 n.1 (D.D.C. 2016) (citing Phelan v. City of Mount Rainier, 805

A.2d 930, 937 (D.C. 2002)). “[A]n employer owes a duty to third person, based on the conduct of its




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employees, to use reasonable care to select competent employees and to fire incompetent

employees.” Stevens v. Sodexo, Inc., 846 F.Supp 2d. 119, 127 (D.D.C. 2012) (emphasis added). “If

an employer neglects this duty, and a third person is harmed as a result, the employer may be liable

even though the injury was brought about by the willful act of the employee beyond the scope of

employment.” Id. at 127-28 (emphasis added). “An employer cannot be liable for negligent hiring

if the employer conducts a reasonable investigation into the person’s background or if such an

investigation would not have revealed any reason not to hire that person.” Jograj v. Enter. Services,

LLC, 270 F.Supp. 3d 10, 23 (D.D.C. 2017) (citations omitted) (emphasis added).

       Thus, to state a claim for negligent hiring and retention, “a plaintiff must allege specific facts

from which an inference can be drawn that the employer did not conduct a reasonable background

investigation, and that such an investigation would have uncovered a reason not to hire the alleged

torrfeasor.” Id. Here, Plaintiffs’ claims fail for negligent hiring and retention, given that these

Defendants were not Defendant Wilson’s employer. See Sec. Am. Compl. at ¶ 23, in which

Plaintiffs avers that Defendant Wilson was employed by DCPS. As a result, Defendants Mann and

Anderson cannot be liable under a theory of negligent hiring or retention of Defendant Wilson.

       Similarly, because Defendants Mann and Anderson were not Defendant Wilson’s employer,

they cannot be held liable for negligent supervision. See Brown v. Argenbright Sec., Inc., 782 A.2d

752, 760 (D.C. 2001) (“[T]the employer knew or should have known that its employee behaved in a

dangerous or otherwise incompetent manner, and that the employer, armed with that actual or

constructive knowledge, failed to adequately supervise the employee.”) (emphasis added).

Accordingly, Plaintiffs’ negligent supervision claims against these Defendants should be dismissed.




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       Plaintiffs’ negligence per se claim against these Defendants for their alleged violation of

D.C. Code § 4-1321.02 should also be dismissed. 1 “[N]egligence per se is not in and of itself a

separate legal claim—rather, it permits a plaintiff under ‘certain circumstances and under specific

conditions,’ to ‘rely on a statute or regulation as proof of the applicable standard of care.’” Hunter

on behalf of A.H. v. Dist. of Columbia, 64 F. Supp. 3d 158, 188-89 (D.D.C. 2014) (citations

omitted). “If the plaintiff can prove that the defendant violated such a statute or regulation, it

‘renders the defendant negligent as a matter of law...so long as the violation was the proximate cause

of the injuries, and the alleged injuries were of the type which the statute was designed to prevent.’”

Id. at 189. Here, D.C. Code § 4-1321.02(a) reads as follows:

       Notwithstanding § 14-307, any person specified in subsection (b) of this section who
       knows or has reasonable cause to suspect that a child known to him or her in his or her
       professional or official capacity has been or is in immediate danger of being a mentally or
       physically abused or neglected child, as defined in § 16-2301(9), shall immediately


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        Undersigned counsel, on behalf of only the District of Columbia, which at that time was the
only defendant they represented, opposed Plaintiffs’ motion to amend and argued that the
amendment would be futile, in part, given that the proposed amended complaint did not include
sufficient facts to support liability against Kaya Henderson, former Chancellor of D.C.P.S., Phillip
Lattimore, III, former Director, D.C. Office of Risk Management (ORM), Jed Ross, current ORM
Director,; Dale Mann, Principal, John Eaton Elementary School or Jacqueline Anderson, Vice-
Principal, John Eaton Elementary School. District’s Opp’n to Pl.’s Mot. To File Second Mot. To
Amend [59]. More specifically, the District argued that the allegations as against these individuals
were either non-existent or “vague.” Id. By Order, dated September 14, 2018, this Court reasoned
that “[a]t this early stage in the litigation, these alleged reports were not too vague to implicate the
reporting requirements of section 4-1321.02. Doe repeatedly referenced Wilson’s ‘sexual come-
ons,’ which plausibly suggests that Anderson and Mann should have had ‘reasonable cause to
suspect that a child . . . is in immediate danger of being a mentally or physically abused . . . child.’
D.C. Code § 4-1321.02. Moreover, contrary to defendants’ suggestion, D.C. Opp’n at 8–9, it is
irrelevant to Anderson and Mann’s mandatory reporting duties whether or not Doe separately and
voluntarily filed a police report or a report with the Child and Family Services Agency. See D.C.
Code § 4-1231.02 (mandating that school officials “immediately report” child abuse or neglect while
allowing, but not requiring, “any other person” to make such a report).” Notwithstanding the
Court’s Order, undersigned counsels believe that Defendants Anderson and Mann are entitled to
move to dismiss Plaintiffs’ negligence per se claim that these Defendants violated § 4-1321.02, not
based on vagueness, but on other grounds.



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       report or have a report made of such knowledge or suspicion to either the Metropolitan
       Police Department of the District of Columbia or the Child and Family Services Agency.

       Here, for purposes of this motion only, it is undisputed that on or about April 25, 2012,

Defendant Anderson convened a meeting with Plaintiff Doe because Defendant Wilson reported to

her that Plaintiff Doe had been exhibiting intimidating behavior towards him. When asked for an

explanation for his behavior, Plaintiff Doe alleges he told Defendant Anderson about the April 18,

2012 incident when Defendant Wilson stopped him and M.R. in the hallway, and in his presence,

asked M.R. where he was going, demonstratively caressed M.R.’s face with his hands, expressed

how special he believed M.R. was and then told him how he was to conduct himself in class…. Id.

at ¶¶ 44, 49-52. Plaintiff Doe allegedly also reported that Defendant Wilson told M.R. that he had

pretty eyes in front of his class. Id. at ¶ 53. Given the context in which these reports were made, the

history of misbehavior of M.R. that was reported, not by Defendant Wilson, but by his homeroom

teacher Ms. Rebecca Nathan, and the specifics of the report as described by Plaintiff Doe, there is no

showing in the Second Amended Complaint that Defendants Anderson or Defendant Mann, who

Plaintiff Doe alleges he shared the same information, knew or had “reasonable cause to suspect that

a child known to him or her in his or her professional or official capacity has been or is in immediate

danger of being a mentally or physically abused or neglected child, as defined in § 16-2301(9).” Id.

at ¶ 231 (acknowledging that Plaintiff Doe described the sexual misconduct committed by

Defendant Wilson). The mere fact that Defendants Anderson and Mann were allegedly dismissive of

Plaintiff Doe’s characterization of what could be perceived as a compliments by Defendant Wilson

and encouragement in front of M.R.’s parent, is insufficient to show that any of them had the

requisite knowledge necessary for reporting requirements under D.C. Code § 4-1321.02. Moreover,

Plaintiff Doe has not demonstrated that even if these Defendants violated § 4-1321.02, that this




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violation caused the injuries claimed to have been suffered by M.R. See Sec. Am. Compl. [60-1,

63]. Accordingly, Plaintiffs have failed to sufficiently plead their claim for negligence per se

against Defendants Mann and Anderson and these claims should be dismissed.

                                           CONCLUSION

       For the reasons set forth in this Motion, Defendants Mann and Anderson respectfully request

that this Court dismiss with prejudice all claims asserted against them in this lawsuit.

                                              Respectfully submitted,

                                              KARL A. RACINE
                                              Attorney General for the District of Columbia

                                              GEORGE C. VALENTINE
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                                              Civil Litigation Division

                                              /s/ Patricia A. Oxendine
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                                              D.C. Bar No. 428132
                                              Chief, Civil Litigation Division, Sec. 1

                                              /s/ Kerslyn D. Featherstone
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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA

____________________________________
                                                )
MORGAN ROE, et al.,                             )
                                                )
                 Plaintiffs,                    )
                                                )    C.A. No. 1:18-CV-00171 (CRC)
                 v.                             )
                                                )
District of Columbia, et al.,                   )
                                                )
                 Defendants.                    )
____________________________________)


                                                    ORDER


        Upon consideration of Defendants Dale Mann and Jacqueline Anderson’s Motion to Dismiss

Plaintiffs’ Second Amended Complaint, any opposition thereto, the Defendants’ Reply, and the

entire record herein, it is by this ______ day of __________________ 2018,

        ORDERED: that Defendants Dale Mann and Jacqueline Anderson’s motion is GRANTED

for the reasons set forth therein; and it is,

        FURTHER ORDERED: that all claims in the Second Amended Complaint as to

Defendants Dale Mann and Jacqueline Anderson are hereby DISMISSED WITH PREJUDICE.

        SO ORDERED.



                                                         ____________________________________
                                                         JUDGE CHRISTOPHER R. COOPER
                                                         U.S. DISTRICT COURT FOR THE
                                                         DISTRICT OF COLUMBIA




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